                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                      3:04-cr-250

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                   ORDER
                                         )
JEFFERY EZEKIEL BECKS (10)               )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant pro se for a reduction

of sentence based on the Fair Sentencing Act of 2010 (FSA) (Doc. No. 712) and his counsel’s

notice that he is not eligible for such relief (Doc. No. 721).

       The Court previously found that the defendant was not sentenced “based on” guideline

range subsequently lowered by Sentencing Commission. (Doc. No. 627: Order at 2). That

decision was affirmed by the United States Court of Appeals for the Fourth Circuit. (Doc. No.

650: Opinion). The FSA does not apply retroactively to lower the statutory mandatory minimum

applicable to defendants sentenced before August 3, 2010, the effective date of the act. United

States v. Bullard, 645 F.3d 237, 249 (4th Cir. 2011). The defendant was sentenced on August 3,

2006 (Doc. No. 498: Judgment); therefore, he is not eligible for relief.

       IT IS, THEREFORE, ORDERED that the defendant’s motion (Doc. No. 712) is

DENIED.




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       The Clerk is directed to certify copies of this order to the defendant, the Community

Defender, the United States Attorney, the United States Marshals Service, and the United States

Probation Office.

                                                      Signed: March 2, 2012




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